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                                    NO. 21-348

            IN THE SUPREME COURT OF THE UNITED STATES
                          __________________

    JOHNSON & JOHNSON AND JOHNSON & JOHNSON CONSUMER COMPANIES, INC.,

                                                                          Petitioners,

                                         v.

  LYNN FITCH, Attorney General of the State of Mississippi, ex rel. THE STATE OF
                                  MISSISSIPPI,

                                                                         Respondent.
                                __________________

    NOTICE OF BANKRUPTCY FILING AND STAY OF PROCEEDINGS

             PLEASE TAKE NOTICE THAT, on October 14, 2021 (the “Petition

Date”), LTL Management LLC, a North Carolina limited liability company (“LTL”),

filed a voluntary petition for relief under chapter 11 of the Bankruptcy Code in

the United States Bankruptcy Court for the Western District of North Carolina (the

“Bankruptcy Court”). A copy of the voluntary petition (excluding the attachments

thereto) is attached hereto as Exhibit A. LTL’s case is captioned In re LTL

Management LLC, Case No. 21-30589 (JCW).

             PLEASE TAKE FURTHER NOTICE THAT, upon the filing of LTL’s

chapter 11 case, the automatic stay imposed by section 362 of the Bankruptcy Code

(the “Automatic Stay”) became immediately effective and, as a result, all claims

asserted against LTL in the above-captioned action (this “Proceeding”) are stayed

absent an order of the Bankruptcy Court lifting or modifying the Automatic Stay.

             PLEASE TAKE FURTHER NOTICE THAT: (i) Defendant Johnson

& Johnson Consumer Inc. (“Old JJCI”), following a corporate restructuring that was

                                          1
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completed on October 14, 2021, ceased to exist; (ii) as a result of the restructuring,

LTL is now responsible for the talc-related claims asserted against Old JJCI in this

Proceeding; and (iii) a new entity named Johnson & Johnson Consumer Inc. (“New

JJCI”) was created as part of the same restructuring.

             PLEASE TAKE FURTHER NOTICE THAT: (i) one or more of the

entities set forth on the list attached hereto as Exhibit B and/or Johnson & Johnson

are Defendants in this Proceeding (collectively with Old JJCI and New JJCI, the

“LTL Defendants”); and (ii) as a result of the Automatic Stay, no further action may

be taken to prosecute the talc-related claims against any LTL Defendant absent an

order of the Bankruptcy Court lifting or modifying the Automatic Stay because (a)

all LTL Defendants share such an identity of interest with LTL that LTL is, in

effect, the real-party defendant in any claims asserted against them in this

Proceeding and/or (b) prosecution of the talc-related claims against any LTL

Defendant would allow plaintiffs to fix claims against LTL— particularly through

indemnity or alleged indemnity obligations, but also through collateral estoppel, res

judicata and evidentiary prejudice.

             PLEASE TAKE FURTHER NOTICE THAT information regarding

the status of LTL’s chapter 11 case may be obtained by (a) reviewing the docket of

the LTL chapter 11 case at http://www.ncwb.uscourts.gov/ (PACER login and

password required) or free of charge at https://dm.epiq11.com/LTL; or (b) contacting

any of the following counsel for LTL:




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                 Dan B. Prieto
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                 Chicago, Illinois 60601
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Dated: October 18, 2021               Respectfully submitted:


                                      /s/ E. Joshua Rosenkranz
                                      E. Joshua Rosenkranz
                                      Counsel of Record
                                      ORRICK, HERRINGTON & SUTCLIFFE
                                      LLP
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                                      New York, NY 10019
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                                      jrosenkranz@orrick.com




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                                EXHIBIT A
Case
  Case
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Debtor        L TL Management LLC                                                                  Case number (if known)                                      _
             Name




 13. Debtor's estimation of               Check one:
     available funds                      Iii Funds will be available for distribution to unsecured creditors.
                                             Ater any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.


                                             149                                 □ 1,000-5,000                                Iii 25,001-50,000
 14. Estimated number of
                                          □ 50-99                                05,001-10,000                                □ 50,001-100,000
     creditors
                                          □ 100-199                              010,001-25,000                                  More than 100,000
                                             200-999

                                          □ $0-$50,000                           D $1,000,001-$10 million                     D $500,000,001-$1 billion
 15. Estimated assets
                                          □ $50,001-$100,000                       $10,000,001-$50 million                    Iii $1,000,000,001-$10 billion
                                          □ $100,001-$500,000                    D $50,000,001-$100 million                   □ $10,000,000,001-$50 billion
                                          D $500,001-$1 million                    $100,000,001-$500 million                  D More than $50 billion

                                          □ $0-$50, 000                            $1,000,001-$10 million                     □ $500,000,001-$1 billion
 16. Estimated liabilities
                                          □ $50,001-$100,000                       $10,000,001-$50 million                    Iii $1,000,000,001-$10 billion
                                          □ $100,001-$500,000                    D $50,000,001-$100 million                   □ $10,000,000,001-$50 billion
                                          D $500,001-$1 million                  D $100,000,001-$500 million                  D More than $50 billion


             Request for Relief, Declaration, and Signatures


  WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
             $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


  11. Declaration and signature of            The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
     authorized representative of
                                              petition.
     debtor
                                              I have been authorized to file this petition on behalf of the debtor.

                                              I have examined the information in this petition and have a reasonable belief that the information is true and
                                              correct.


                                          I declare under penalty of         •     that the foregoing is true and correct.

                                              Executed on
                                                              1O 1                  •
                                                              MM /0

                                           X-----,--F
                                                    ------'--
                                                            - --------                                         _Jo_h_n_K
                                                                                                                       _ .K
                                                                                                                          _ im                                     _
                                                          of authorized representative of debtor               Printed name

                                                         hief Legal Officer




  Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                        page 4
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                                   EXHIBIT B
7-Eleven
Acme Markets, Inc.
Ahold Delhaize USA, Inc.
Albertsons Companies, Inc.
Alpha Beta Company
Associated Wholesale Grocers, Inc.
Associated Wholesaler Grocers, Inc.
Bartell Drug Company
Bashas’, Inc.
Bausch Health Americas, Inc.
Bausch Health Companies Inc.
Bausch Health US, LLC
BCW LLC
Beautyland
Best Market of Astoria, Inc.
BI-LO, LLC
Bi-Mart Corporation
C&S Wholesale Grocers
C&S Wholesale Grocers, Inc.
Classic Pharmacy, Inc.
Cosentino Enterprises, Inc.
Cosentino Group, Inc.
Cosentino Price Chopper
Cosentino’s Food Stores
Costco Wholesale Corporation
CVS Health Corporation
CVS Pharmacy, Inc.
Demoulas Super Markets, Inc.
Dierbergs Markets, Inc.
Discount Drug Mart, Inc.
Dollar Tree Stores, Inc.
DRI I, Inc.
Duane Reade, Inc.
Eckerd Corporation of Florida, Inc.
Family Dollar Stores
Fleming Companies, Inc.
Food 4 Less of California
Food 4 Less of Southern California, Inc.
Foodland (Sullivan Family of Companies
Foodland Super Market, LTD
Foot Locker, Inc.
Foot Locker Specialties, Inc.,
   individually and as successor-in-interest to F.W. Woolworth Co.
Foot Locker Specialty, Inc.
Four B Corporation d/b/a Balls Food Stores
Fred Meyer Stores, Inc.
Fruth Pharmacy, Inc.
Gerlands Food Fair, LLC
Gerlands, LLC
Giant Eagle, Inc.
Giant Food of Maryland, LLC
Giant Food Stores, LLC
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Grocery Outlet Holding Corporation
Grocery Outlet, Inc.
HAC, Inc.
H-E-B, LP
Hughes Markets, Inc.
Hy-Vee, Inc.
Johnson & Johnson
Johnson & Johnson Consumer Inc.
K&B Corporation
K&B Louisiana Corporation
Kings Park Slope, Inc.
Kings Pharmacy
Kings Pharmacy Holdings, LLC
Kings Third Ave. Pharmacy, Inc.
Knorr Street ShopRite, Inc.
La Luz Market, LTD. Co.
Lewis Food Town, Inc.
Longs Drug Stores California, L.L.C.
Longs Drug Stores of Southern California, L.L.C.
Longs Drug Stores, L.L.C.
Lucky Stores, Inc.
Marc Glassman Inc.
Marc Glassman, Inc. d/b/a Marc's Store & Pharmacy
MBF Healthcare Holdings, Inc.
MBF Healthcare Management, LLC
Meijer, Inc.
MMG Equity Partners
Navarro Discount Pharmacies No. 5, LLC
Navarro Discount Pharmacies, LLC
OMJ Pharma, Inc.
Owens & Minor Distribution, Inc.
Owens & Minor, Inc.
Piggly Wiggly Carolina Co.
Piggly Wiggly Carolina Co., Inc.
Piggly Wiggly Companies, Inc.
Piggly Wiggly, LLC
Piggly Wiggly, LLC (subsidiary of C&S Wholesale Grocers)
PTI
PTI Royston LLC, A Georgia Limited Liability Co., d/b/a Pharma Tech Industries
PTI Union, LLC d/b/a Pharma Tech Industries
Publix Super Markets, Inc.
Raley's
Ralphs Grocery Company
Rite Aid
Rite Aid Corporation
Rite Aid Hdqtrs. Corp.
Rite Aid of New York City, Inc.
Rite Aid of New York, Inc.
Rite Aid of Pennsylvania, Inc.
Rite Aid of South Carolina, Inc.
Rouse’s Enterprises, L.L.C.
Rouse's Enterprises, L.L.C. d/b/a Rouses Market
Safeway Inc.
Save Mart Supermarkets, Inc.
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Schnuck Markets
Schnuck Markets, Inc.
Sedano's Market, Inc.
Shanti Pharmacy Corp.
Shop-Rite Supermarkets, Inc. a/k/a Shop Rite of Knorr Street
Smith Food and Drug Center, Inc.
Southeastern Grocers, Inc.
Stater Bros. Markets
Super Center Concepts, Inc. d/b/a Superior Grocers
Superior Grocers
SuperValu, Inc.
T. Levy Associates, d/b/a Beauty Land Enterprises
T. Levy Associates, Inc. t/d/b/a Beauty Land Enterprises
Target Corporation
The Bartell Drug Company
The Former Johnson & Johnson Consumer Inc.
The Kroger Company
The Stop & Shop Supermarket Company LLC
Thrifty Payless, Inc.
Thrifty White Drug
Tops Holding, LLC
Valeant Pharmaceuticals International
Valeant Pharmaceuticals International, Inc.
Valeant Pharmaceuticals North America LLC
Wakefern Food Corp.
Walgreen Co.
Walgreen Eastern Co., Inc.
Walgreen Pharmacy Strategies, LLC
Walgreens Boots Alliance, Inc.
Walmart Inc.
Wegmans Food Markets, Inc.
Winn-Dixie Stores, Inc.
Woolworth Corporation
